AO 440 (Rev. 02/09) Summons in a Civil Action

UNITED STATES neice COURT

for the

Eastern District of Louisiana

RALPH GONZALES, ET AL. )
Plaintiff )
". ) Civil Action No. a 7h fa
AMERICAN INTERNATIONAL GROUP, INC.,ETAL +) wee = A € 7 s
) oe

Defendant

RB
‘SUMMONS IN A CIVIL ACTION Or

To: (Defendant's name and address) Gibraltar Insurance Co., LTD
Through its Registered Agent for Service of Process
Quest Management Solutions
FB Perry Building
40 Church Street
Hamilton, HM 11
Bermuda

A lawsuit has been filed against you.

Within 20 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Gainsburgh, Benjamin, David, Meunier & Warshauer, L.L.C.

2800 Energy Centre
1100 Poydras Street
New Orleans, Louisiana 70163

If you fail to respond, judgment by default will be entered against you for the relief demanded i in the oe

You also must file your answer or motion with the court. S DIS
as SES

CLERK OF COURT ‘Loretta G. Whiye A

Signuthe of Clerk or Depart Clerk FG
Aug 12 2009 Bt Cae SY

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Date:

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Case 2:07-md-01873-KDE-MBN Document 14462, Filed 06/22/10 Page 2 of 3

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Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4(1))

This summons for (name of individual and title, if any)

was received by me on (date)

© I personally served the summons on the individual at (place)

On (date) 5 or

© I left the summons at the individual’s residence or usual place of abode with (name)

, 2 person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or
O I served the summons on (name of individual) , who is
designated by law to accept service of process on behalf of (name of organization)
on (date) ; OF
© I returned the summons unexecuted because ; Or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.90

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

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A. Signature |

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1, Article Addressed to:

Gibraltar Insurance Co., Ltd.
Through its registered agent
Quest Management Solutions
40 Church St.

Hamilton, HM 41, Bermuda

FB Perry Bldg-,

ZZ Cy cee

B. Received by (Prin

C, Date of Delivery

D. Is delivery address different from item 1? [1] Yes
if YES enter delivery address below: O no

3. Service Type Certified

bh. Gonzales

PS Form 3811

UNITED STATES POSTAL SERVICE

Tara Todd

| | | | First-Class Mail i
Postage & Fees Paid

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Domestic Return Receipt” we aenot

USPS
Permit No. G-10

Gainsburgh, Benjamin, David, |

Meunier & Warshauer,
2800 Energy Centre,

r, LLC
4100 Poydras St

New Orleans, LA 70163

4. Restricted Delivery? (Extra Fee) Yes- *
